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                            UNITED STATES DISTRICT COURT
                            SO U TH E RN DISTRIC T O F FLO R IDA

                    CA SE NO .17-CR -14047-M 1DD LEBR O O K S/M A Y NA >

UN ITED STA TES O F A M ERICA ,

       Plaintiff,                                             Fl:29W               D.C.
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SC O TT JO SEPH TR ADER ,                                        STEMENM LARIMORE
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       D efendant.
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               REPO R T A N D R ECO M M EN DA TIO N O N CH AN G E O F PLEA

       THIS CAUSE com esbeforethisCourtupon alzOrderofReferencefrom the DistrictCourt

 forthis Coul'tto conductaproceeding foracceptance ofa guiltypleaby theD efendantin theabove

referenced case.Having conducted a change of plea hearing on September 29,2017,this Court

 recom mendstotheDistrictCourtasfollows:

              On Septem ber 29, 2017,this Coul'tconvened a hearing to perm it the D efendant to

 changehispleain thiscrim inalcase.Atthehearing'soutset,thisCourtadvised theDefendantofhis

 rightto havetheDistrictJudge assigned tothiscase conductthisproceeding.ThisCourtadvised the

 Defendantthatitwas conducting the Change ofPlea Hearing atthe requestofthe Defendant,the

 Defendant's attorney,and the AssistantUnited States Attorney assigned to this case.This Court

 advisedtheDefendantthattheDistrictludgeassignedtothiscasewillbethesentencingjudge,will
 m ake a11findingsand rulings concerning the Defendant'ssentence,and willschedule and conduct

 the Sentencing Hearing.

        2.     This Courtadvised the Defendantthat he did not have to permitthe tmdersigned

 United States M agistrate Judge to conductthis hearing butcould requesta United States District

 Judgeto conducttheChange ofPlea hearing instead.The Defendant,the Defendant'sattorney,and
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the AssistantUnited StatesAttorney assigned to the case allagreed on the record and consented to

thisCourtconductingtheChangeofPleahearing.

        3.     ThisCourtconducted thepleacolloquy in accordancewith theoutlinesetforth in the

Bench B ook forD istrictJudges.

               There isa written Plea Agreem entwhich hasbeen entered into by the parties in this

case. ThisCoul'treviewed thatPleaAgreem enton therecord and had the Defendantacknowledgb

thathesignedthePleaA greem ent.ThisCoul'treviewed with theDefendantthepossible maximum

 sentence as set fol'th in the Plea A greem ent. This Court also review ed w ith the D efendant the

 mandatory minimum penalties applicable in this case. The Defendant acknowledged that he

 understood the charges againsthim ,the possible m axim tun penalties,and the m andatory m inim um

penaltiesthatcould beim posed in thiscase.

               The Defendantpled guilty to al1five counts ofthe Indictm ent.CountOne charges

 him w ith enticem entof a m inorto engage in sexual activity in violation of Title 18,U nited States

 Code,Section 2422(19.CountTwo charges him with distribution ofmaterialcontaining visual
 depictions ofsexualexploitation of minors in violation of Title 18,United States Code,Sections

 2252(a)and(b)(1).CountTllreechargeshim withpossession ofmattercontainingvisualdepictions
 ofsexual.
         exploitation ofminorsinviolation ofTitle18,United StatesCode,Sections2252(a)(4)(B)
 and (b)(2).Counts Four and Five charge him with production of material containing visual
 depictions of sexualexploitation ofm inors in violation ofTitle l8,United States Code,Sections

 2251(a)and (e).
        6.      The Plea Agreement contains a conditional plea provision under Federal Rule of

 CriminalProcedure 11(a)(2). In thatprovision,bothpartiesagreetoDefendantreservinghisright
 to appealthe DistrictCourt'sOrder(D.E.15jdenying Defendant'smotion to suppress(D.E.13).
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ThisCourtreviewed the conditionalnature ofthe plea with Defendant,who acknowledged thathe

understood.ThisCourtapprovedtheconditionalnatureofthepleao!ltherecord.

               The Plea A greem ent contains a provision regarding restitution, w hich the

lm dersigned revièwed with the Defendant. The Defendantacknowledged his understanding that

restitution ismandatory and the am otmtwillbedeterm ined by theDistrictCourtatsentencing orin

 a separate hearing.

        8.     The Plea Agreem entcontains a forfeiture provision,which was reviewed with the

 D efendant. The D efendantacknow ledged thathe is voluntarily abandoning to 1aw enforcem ent all

 right,titleand interestin thepropel'
                                    tydescribed in thePleaAgreem ent.

               The Plea A greem ent contains a provision regarding sex offender requirem ents,

 w hich the undersigned review ed w ith the Defendant. The D efendant acknowledged his

 understanding thathe willbe required to registerasa sex offender upon release from prison,and

 willbesubjecttofederalandstatesex offenderregistrationrequirements.
               The parties subm itted a written Stipulation of Facts and A cknow ledgem ent of

 Offense Elem ents in Supportof Guilty Plea,which was signed by counselfor the governm ent,

 counselforthe Defendant,and the Defendant. The Defendantacltnowledged thathe has read the

 Stipulation and discussed it with his attorney. The Defendant f'urther acknowledged that he

 completely understandsthe Stipulation and agreed thatitaccurately setsforth the factsin hiscase as

 he understands them to be. This Coul'
                                     t finds thatthe Stipulation sets forth a11 ofthe essential

 elem ents of the crim es to which the Defendant is pleading guilty as well as any sentencing

 enhancem ents and/or aggravating factors thatm ay be applicable. Counselfor the governm ent and

 counselforthe befendantagreed thatthe Stipulation need notbe read into the record since the
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originalhasbeen signedby a11parties,including theDefendant,and the originalwould befiledwith

the C ourt.

        11.    Based on the foregoing and theplea colloquy thatthis Courtconducted,this Court

recom m ends to the D istrictCourtthatthe D efendantbe found to have freely mld voluntarily entered

hisguilty pleato CountsOne,Two,Three,Four,and Five,and thatthe Defendantbeadjudicated
 guilty ofthe offenses.

        12.    The U nited States Probation O ffice w ill conduct a pre-sentence investigation and

 willissue a reportforsentencing purposes.This Courtnotesthatthe Sentencing Hearing is setfor

 Thursday,N ovem ber 30,2017 at 11:00 a.m .before DistrictJudge D onald M .M iddlebrooks at
 the U nited States D istrict Courthouse, 701 C lem atis street, 2nd Floor, w est Palm B each,

 Florida.

        A C CO R D IN G L Y, this Coul't recom m ends to the District Court that the D efendant's

 conditionalpleaofguilty to CountsOne,Two,Three,Four,and Fiveofthelndictm entbe accepted;

 thatthe Defendantbe adjudicated guilty ofthe offenses to which he pleads guilty;and thata
 sentencing hearing be conducted forfinaldisposition ofthis case.

        Thepartiesshallhavefourteen (14)daysfrom thedateofthisReportandRecommendation
 within which to file objections,ifany,with the HonorableDonald M .M iddlebrooks,the United
 States DistrictJudge assigned to this case.Pursuantto FederalRules ofCrim inalProcedure Rule

 59(b)(2),failure to tile atimely objection tothisReportand Recommendation waivestheparty's
 rightto review,and itbars the party from attacking on appealany legalrulings or fact findings

 containedherein.
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 2017.


                                SHAN IEK M .M A YN AR D
                                UN ITED STA TES M A GISTM TE JU D G E

 Copiesfurnished:
 Hon.D onald M .M iddlebrooks
 M arton G yires,AU SA
 FletcherPeacock,A FPD
 U .S.Probation
 U .S.M arshal
